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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


     UNITED STATES OF AMERICA,                         )
                                                       )
                                   Plaintiff,          )
                                                       )
                          vs.                          )
                                                       )     No. 1:12-cr-00189-03 SEB-MJD-
     ANTHONY LOMAX,                                    )
                                                       )
                                   Defendant.          )


        ORDER DENYING DEFENDANT ANTHONY LOMAX’S MOTIONS FOR
                      SUPPLEMENTAL DISCOVERY
                         (Dkt. Nos. 282, 234 & 281)

           Defendant, Anthony Lomax (“Lomax”), is one of five defendants charged in the

    twenty-two count Fourth Superseding Indictment pending in the above-captioned cause.

    Lomax is charged in Count One (conspiracy to possess with intent to distribute and to

    distribute heroin), Counts Fourteen, Fifteen, Eighteen, Nineteen and Twenty (distribution

    of heroin), and Count Twenty-two (felon in Possession of a Firearm). The original

    Indictment was filed on November 20, 2012, and the Fourth Superseding Indictment was

    filed on October 23, 2013. The parties stipulate that substantial discovery has been

    provided and reviewed by defense counsel as required by Rule 16, Fed. R. Crim. P.

    Trial is currently set for January 27, 2014, at which three of the five charged defendants

    are expected to be tried.

           Before the Court here is a series of late-breaking motions (e.g., we say “late-

    breaking”, though the Government describes them as untimely, given that the motion for

    bill of particulars was due within 14 days after arraignment unless permission is sought
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    from and given by the court, pursuant to Rule 7(f), Fed. R. Crim. P.) filed by Lomax’s

    counsel seeking an order directing the government to disclose additional background

    information relating to this prosecution. Each of these requests exceeds the requirements

    for pretrial disclosure established by the Federal Rules of Criminal Procedure, the Jencks

    Act, Brady v. Maryland as well as the scheduling orders of this court. Lomax’s motions

    also suffer from labeling errors as discussed more fully below, and fail to take into

    account the prior discovery disclosures already by government counsel or fall within the

    government’s assurances that future disclosures prior to or during the trial will be made

    in a timely fashion as required by law. As such, Lomax has established no entitlement to

    the relief sought in any of his motion as explicated more fully below.

           BILL OF PARTICULARS: What defense counsel has titled Lomax’s “Motion

    for   Bill of Particulars” is, in fact, a wide-ranging      hodge-podge of supplemental

    discovery requests more properly viewed as a request for further evidentiary. Not until

    Paragraph 10, the final paragraph of this motion, does Lomax’s request fall within the

    definition of a bill of particulars. A bill of particulars when ordered serves to supplement

    the indictment and as such it holds the government to proof in accordance with the

    disclosures and becomes, in effect, a supplemented charge. A bill of particulars is not

    tantamount to a discovery request. “The purpose of a bill of particulars is to apprise the

    defendant of the nature of the charges against him and to prevent undue surprise at trial.

    However, a bill of particulars is not a proper vehicle by which to seek to obtain names of

    witnesses, evidentiary detail or the government’s theory of the case.”     United States v.

    Robinson, 2012 WL 4856958 (E.D.M0)(internal citations omitted).
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           In Paragraph 10 of his request for a Bill of Particulars, Lomax requests the details

    as to “time, date, place, and manner of the alleged crimes the Defendant has been charged

    with committing,” including the “dates, locations and names of indicted and unindicted

    co-conspirators who allegedly conspired” with him to possess and to distribute heroin.”

    Each of the Counts against Lomax already includes the date(s) of the alleged offense(s).

    In addition, the indictment sets out in substantial detail the nature of the offenses charged

    as well as the timing of offense conduct. The charges of distribution and of possession of

    the firearm include the essential elements of each offense and are thus, along with the

    related discovery disclosures already made, sufficiently specific to apprise Lomax of the

    events and conduct which the government intends to prove at trial and for which he is

    held to answer.

           In his Reply Brief, Lomax complains that with regard to Count 1, the drug

    conspiracy charge, he has not been informed by the Government as to its belief that

    “Lomax and Brandon Lomax were a part of the same conspiracy.” Further, Lomax

    continues, Count 1 “fails to detail any facts or events linking Lomax (himself) to the

    alleged conspiracy.”

           The Fourth Superseding Indictment puts the lie to these claims by Lomax. For

    example, the conspiracy charge in Count 1 avers that the illegal agreement among the

    four defendants, including Anthony Lomax, began in 2009 and continued up to and

    including December 5, 2012, within the Southern District of Indiana and elsewhere. It

    further alleges that the object of this conspiracy was to possess with intent to distribute

    and to distribute controlled substances, including a specified quantity of heroin. In the

    “Manner and Mean” section of Count 1, Parag. 3, it is specifically alleged that “Anthony
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    Lomax would assist Brandon Lomax in his (heroin) distribution activities…”. Count 14

    is a heroin distribution charge against Lomax alleged to have occurred on September 26,

    2012; Count 15, on October 2, 2012; Count 18, on October 13, 2012; Count 19, on

    October 16, 2012; Count 20, on November 19, 2012 -- all within the period covered by

    the conspiracy charge in Count 1. Count 22 against Lomax alleges that he was a felon in

    possession of a firearm on December 5, 2012, the final day of the conspiracy. There is

    more that sufficient detail in the indictment to put Lomax on notice as to the

    government’s “belief” that Anthony and Brandon Lomax were a part of the same

    conspiracy and that Lomax was clearly linked to it.

           Defendant’s requests for police reports, witness statements, confessions, physical

    or mental examination results or other scientific testing results,      witnesses names,

    addresses and telephone numbers, statements adopted by witnesses, video recordings,

    photographs, benefits given by the government to witnesses in exchange for their

    testimony, and any information that is exculpatory of Defendant Lomax are clearly

    requests for discovery and/or Brady material, which are covered by other rules and which

    the government has stated it either has or will comply with in timely fashion. The Court

    lacks any lawful authority to require otherwise of the government.

            The Bill of Particulars accordingly shall be DENIED.

           MOTION IN LIMINE: Defendant Lomax seeks the exclusion at trial of any

    evidence disclosing his prior criminal history, any evidence of uncharged misconduct

    (“bad acts” under Rule 404(b), F.R.Evid.), and any statements which mention him where

    the purported maker of the statement cannot be cross examined. Defendant’s motion in

    limine is problematic in that it fails to take into account the lawful and permissible uses
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    of such evidence, should the government satisfy the conditions under which it can be

    introduced.

           For example, Lomax is charged in Count 22 with the offense of being a felon in

    possession of a firearm.     Ordinarily, as government counsel points out, defendants

    charged with this offense accept the government’s offer to stipulate that the only

    reference that will be made in the presence of the jury with respect to the defendant’s

    prior conviction(s) will be limited to the fact that the defendant has incurred such,

    without any specific reference or elaboration with regard to the number or nature of the

    prior convictions being made.      Lomax apparently has failed to enter into any such

    limiting stipulation, which leaves the government free to introduce evidence of his prior

    felony conviction(s) in order to prove this essential element of the charge.

           Regarding the evidence of prior bad acts (that is, uncharged misconduct by the

    defendant known to the government beyond the conduct covered in the pending charges),

    such evidence is subject to the requirements of Rule 404(b), Fed. R. Evid.              The

    government has indicated that it intends to fully disclose such evidence of this sort which

    it may seek to introduce in its trial brief which will be filed in advance of trial, thereby

    fully informing the defendant and allowing the Court to rule in advance of trial as to its

    admissibility. This procedure satisfies the Rule 404(b) requirements. As such, it renders

    Lomax’s motion in limine premature. The Court will rule on these issues following the

    government’s promised pretrial disclosures,

           With reference to statements mentioning the defendant where the maker of the

    statement will not be subject to cross-examination, such statements may be admissible as

    statements by co-conspirators      made in furtherance of the conspiracy, under Rule
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    810(d)(2)(E). The government has indicated its intention to comply fully with existing

    case law by setting forth in detail any such statements in its Santiago proffer, which will

    be a part of its trial brief.   Mindful of the requirements imposed on the Court by the

    Seventh Circuit for determining prior to trial whether any such proffered statement(s) was

    actually made in furtherance of the alleged conspiracy, we will conduct that careful

    analysis after the trial brief is filed and defense counsel has had an opportunity to respond

    to the specific evidence. Thus, again, this motion is not ripe for decision by the Court.

            BRADY/GIGLIO DISCLOSURES: Defendant’s request here is not so much

    one for full disclosure of any and all exculpatory evidence, including impeachment, as it

    is an appeal to the Court’s sense of fairness.    Lomax’s counsel request that the Court

    require the government to provide him with sufficient advance notice of the content of

    witness statements and Brady materials and other such disclosures as will allow him to

    undertake adequate preparations for trial. Conceding that the Jencks Act does not require

    disclosure by the government of witnesses’ statements prior to their testifying at trial,

    defense counsel contends that these statements in effect constitute Brady material, access

    to which a defendant should be entitled at the earliest time possible and certainly well

    prior to their testimony.

            Defendant’s specific request is for the immediate production of the following, on

    the grounds that it is, in fact, exculpatory and/or impeachment evidence:

            1. All promises, inducements, incentives and/or rewards offered to government
               witnesses.
            2. Evidence relating to any witness working with or at the direction of law
               enforcement.
            3. Information relating to training of or termination of government witnesses.
            4. Evidence of bias, prejudice, fabrication or lying by government witnesses.
            5. Mental health treatment, including drug and alcohol treatment, for witnesses.
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           6. Evidence that any witness was under the influence of alcohol or drugs at the
              time of events which are the subject of that witness’s testimony.
           7. Inconsistent statements made by any witness.
           8. Any witness’s Rule 609 prior convictions.
    The Government responds that it has already disclosed all the Brady material of which it

    has knowledge (but to its knowledge there is none) and will disclose the Giglio material

    before each witness testifies, that is, at least seven business days prior to trial. The

    Government further notes that the itemized list of materials requested reflect material the

    defendant may use to impeach government witnesses, rather than to exculpate the

    defendant.   Acknowledging that it has a duty to disclose at the appropriate time

    information bearing directly on the credibility of its major witnesses,        defendant’s

    requests, it contends, exceed the requirements of law in this Circuit. In particular,

    disclosures must be made simply “before it is too late for the defendant to make use of

    any benefits of the evidence…”.     United States v. Allain, 671 F. 2d 248, 255 (7th Cir.

    1982)(citing United States v. Ziperstein, 601 F.2d 281, 291 (7th Cir. 1979), cert. denied,

    444 U.S. 1031, 100 S. Ct. 701, 62 L. Ed.2d 667 (1980). Disclosure of witness credibility

    evidence at the time of trial has been deemed by our Circuit as satisfactory. United States

    v. McPartlin, 595 F. 2d 1321, 1346 (7th Cir. 1979), cert denied, 444 U.S. 833, 100 S. Ct.

    65, 62 L Ed.2d 43 (1979). Accordingly, requests for discovery are not the proper vehicle

    for obtaining a list of the government’s witnesses, which seems to be the primary thrust

    of Lomax’s request.

           The Government specifically agrees to disclose, consistent with the above

    schedule, any and all proffer agreements, immunity grants and other benefits promised

    by it to witnesses as well as information concerning witnesses’ criminal and psychiatric

    backgrounds.    All other categories specifically requested by defendant for expedited
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    discovery are, it asserts, covered by the Jencks Act, which provides the exclusive

    procedure for discovering statements made by government witnesses, and with which it

    will comply as promised. This motion should therefore be denied. To the extent that

    certain material is covered by both Brady and Jencks, the Jencks Act controls the timing

    of the disclosures, which is to say, the disclosures are not required until after the witness

    has testified on direct examination, but the government will provide this information on a

    somewhat expedited basis, as it has previously promised.

           Defense counsel concedes in his reply brief that the government “correctly points

    out that no rule or statute mandates pre-trial disclosure of the material requested by

    Lomax, (but) there is likewise nothing prohibiting it.”      This is not enough to justify a

    court order along the lines he requests. The Court understands the controlling precedents

    and applicable rules to be in line with the Government’s contentions as laid out in its

    responsive briefing to Defendant’s Motion for Timely Disclosure of Brady/Giglio

    Material.

           Accordingly, finding no compelling reason not to apply the Jencks Act provisions

    in order to require disclosure by the government of its witness list in advance of trial,

    particularly given the nature of the charges at issue in this case and the strong potential

    for violence they suggest in the form of witness retaliation, injury or intimidation if the

    information is released prematurely, we shall deny this motion as well.

           The Defendant’s motions are all DENIED.

           IT IS SO ORDERED.

    Date: 01/10/2014
                                                          _______________________________
                                                          SARAH EVANS BARKER, JUDGE
                                                          United States District Court
                                                          Southern District of Indiana
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    Copies to:

    Electronically registered counsel of record via ECF
